               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:09 cr 13-9


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )            ORDER
                                             )
YVONNE MARIE FOUNTAIN.                       )
______________________________________       )


        THIS CAUSE coming on to be heard upon the Motion (#189) of Jack W.

Stewart for permission to withdraw as attorney for the defendant in this matter. At

the call of this matter on for hearing, the defendant was present with Mr. Stewart.

The court made inquiry of Mr. Stewart regarding the Motion to Withdraw. Mr.

Stewart advised the court that on April 16, 2009 he had received a letter from the

defendant discharging him from his representation of the defendant. Mr. Stewart had

been retained by the defendant’s family to represent her in this case. This court had

previously considered a request by the defendant to be considered for court appointed

counsel and had in fact appointed counsel for the defendant. On March 3, 2009

appointed counsel, that being Fredilyn Sison, filed a motion to withdraw as counsel

of record for the defendant stating that Mr. Stewart was representing the defendant.

An examination of the file showed that on March 3, 2009 Mr. Stewart had filed a

Notice of Appearance (#114) advising that he was representing the defendant in this

case. Mr. Stewart stated he attempted to discuss the letter of the defendant with her


      Case 1:09-cr-00013-MR-WCM    Document 229     Filed 05/12/09   Page 1 of 3
on April 18, 2009. At that time, the defendant refused to discuss her case or the

circumstances with him. The defendant did advise Mr. Stewart that her family had

already retained another attorney to appear on behalf of the defendant and the

defendant had directed that Mr. Stewart withdraw from any further representation of

her in this case.

       The undersigned made inquiry of the defendant as to the name and address of

the attorney whom the defendant now contended represented her. The defendant

could not provide the name or address of this attorney. The defendant stated to the

undersigned her sister and family had retained another attorney and he was to come

and speak to her on the date of the hearing of this matter, that being May 1, 2009. No

attorney had made any appearance up to that date or filed any notice on behalf of the

defendant. The undersigned advised the defendant that this court was going to allow

the motion of Mr. Stewart and it appeared the defendant had discharged Mr. Stewart

and the defendant was to immediately advise her new attorney he was to file an

immediate notice of appearance on behalf of the defendant.



                                      ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Withdraw (#189) filed

by Jack W. Stewart is hereby ALLOWED. The defendant is ORDERED to advise

                                          2


   Case 1:09-cr-00013-MR-WCM        Document 229      Filed 05/12/09   Page 2 of 3
her new counsel to immediately file a notice of appearance certifying his appearance

on behalf of the defendant in this case.



                                           Signed: May 12, 2009




                                           3


   Case 1:09-cr-00013-MR-WCM        Document 229      Filed 05/12/09   Page 3 of 3
